2007 Saturn Aura                                                              Trade in to a Dealer
Pricing Report
Style: XE Sedan 4D
                                                                                    Trade-in Range
Mileage: 180,000
                                                                                   $275 - $728
KBB.com Consumer Rating: 4.6/5
                                                                                     Trade-in Value
                                                                                         $502
Vehicle Highlights
Fuel Economy: City 18/Hwy 28/Comb 21 MPG

Engine: V6, 3.5 Liter

Transmission: Automatic

Drivetrain: FWD

Country of Assembly: United States

Country of Origin: United States

EPA Class: Midsize Cars

Max Seating: 5

Doors: 4                                                              Valid for ZIP code 48706 through 09/19/2021
Body Style: Sedan




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Your Configured Options
Our pre-selected options, based on typical equipment for this car.
   Options that you added while configuring this car.

Exterior Color                  Engine                           Transmission                Drivetrain
  Black                         V6, 3.5 Liter                    Automatic                   FWD

Comfort and                     Steering                         Entertainment and           Safety and Security
Convenience                     Power Steering                   Instrumentation             Side Air Bags
Air Conditioning                                                 AM/FM Stereo
                                Tilt Wheel                                                   Dual Air Bags
Power Windows                                                    Cassette

Power Door Locks                                                 CD/MP3 (Single Disc)

Cruise Control                                                   OnStar

Braking and Traction            Seats
ABS (4-Wheel)                   Power Seat

StabiliTrak

Traction Control




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Glossary of Terms

Kelley Blue Book® Trade-In Value - This is the amount you can expect to
receive when you trade in your car to a dealer. This value is determined based on           Tip:
the style, condition, mileage and options indicated.
                                                                                            It's crucial to know your car's
Trade-In Range - The Trade-In Range is Kelley Blue Book's estimate of what you              true condition when you sell it,
can reasonably expect to receive this week based on the style, condition, mileage           so that you can price it
and options of your vehicle when you trade it in to a dealer. However, every dealer         appropriately. Consider having
is dierent and values are not guaranteed.                                                   your mechanic give you an
Kelley Blue Book® Private Party Value - This is the starting point for
                                                                                            objective report.
negotiation of a used-car sale between a private buyer and seller. This is an "as is"
value that does not include any warranties. The nal price depends on the car's actual condition and local market factors.

Private Party Range - The Private Party Range is Kelley Blue Book's estimate of what you can reasonably expect to receive this
week for a vehicle with stated mileage in the selected condition and configured with your selected options, excluding taxes, title and
fees when selling to a private party.

Excellent Condition - 3% of all cars we value. This car looks new and is in excellent mechanical condition. It has never had paint or
bodywork and has an interior and body free of wear and visible defects. The car is rust-free and does not need reconditioning. Its
clean engine compartment is free of fluid leaks. It also has a clean title history, has complete and verifiable service records and will
pass safety and smog inspection.

Very Good Condition - 23% of all cars we value. This car has minor wear or visible defects on the body and interior but is in
excellent mechanical condition, requiring only minimal reconditioning. It has little to no paint and bodywork and is free of rust. Its
clean engine compartment is free of fluid leaks. The tires match and have 75% or more of tread. It also has a clean title history, with
most service records available, and will pass safety and smog inspection.

Good Condition - 54% of all cars we value. This car is free of major mechanical problems but may need some reconditioning. Its
paint and bodywork may require minor touch-ups, with repairable cosmetic defects, and its engine compartment may have minor
leaks. There are minor body scratches or dings and minor interior blemishes, but no rust. The tires match and have 50% or more of
tread. It also has a clean title history, with some service records available, and will pass safety and smog inspection.

Fair Condition - 18% of all cars we value. This car has some mechanical or cosmetic defects and needs servicing, but is still in safe
running condition and has a clean title history. The paint, body and/or interior may need professional servicing. The tires may need
replacing and there may be some repairable rust damage.




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